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                              United States Court of Appeals
                                     For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                               VOICE (314) 244-2400
Michael E. Gans
                                                                                 FAX (314) 244-2780
 Clerk of Court
                                                                               www.ca8.uscourts.gov

                                                           November 08, 2021


Mr. Jacob Moshe Roth
JONES & DAY
51 Louisiana Avenue, N.W.
Washington, DC 20001-2113

         RE: 21-1589 Adventist Health System, et al v. U.S. Dept. of HHS, et al

Dear Counsel:

       The court today issued an opinion in this case. Judgment in accordance with the opinion
was also entered today. The opinion will be released to the public at 10:00 a.m. today. Please
hold the opinion in confidence until that time.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 45 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. No grace period
for mailing is allowed, and the date of the postmark is irrelevant, for pro-se-filed petitions. Any
petition for rehearing or petition for rehearing en banc which is not received within the 45 day
period for filing permitted by FRAP 40 may be denied as untimely.

                                                           Michael E. Gans
                                                           Clerk of Court

CMD

Enclosure(s)

cc:      Mr. Peter C. Canfield
         Ms. Courtney A. Carrell
         Ms. Elizabeth Jane Carter
         Mr. Michael Anthony Carvin
         Mr. Clerk, U.S. District Court, Southern Iowa
         Ms. Linda T. Coberly
         Mr. Michael Leon Drezner
         Ms. Lauren Gailey
         Mr. Bradley Hinshelwood
         Mr. Ryan Gene Koopmans
         Mr. Glenn L. Krinsky


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   Mr. Lance W. Lange
   Ms. Lisa Nicole Newman
   Ms. Autumn Hamit Patterson
   Mr. James W. Randall
   Mr. Richard Salgado
   Ms. Kelsey L. Smith
   Mr. Mark B. Stern
   Mr. Sean H. Suber
   Mr. Thomas Gerald Weber

     District Court/Agency Case Number(s): 3:20-cv-00101-SMR




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